                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 UNITED STATES OF AMERICA                   )
                                            )
 v.                                         )       No. 3:14-CR-85
                                            )       Phillips/Shirley
 JILL L. HIGDON                             )


                       MEMORANDUM OPINION AND ORDER


        This matter is before the Court for consideration of Defendant Jill L. Higdon’s

 motion to recuse the undersigned pursuant to 28 U.S.C. § 455(a) [Doc. 254]. In support

 of this motion, defendant states that her father, James T. Higdon, was subject to various

 arrests and misdemeanor prosecutions between March 2003 and 2012 by the former

 District Attorney of the 8th Judicial District of Tennessee, William Paul Phillips (“D.A.

 Phillips”), who is the brother of the undersigned. Defendant also states that her father

 filed a federal civil rights case against several individuals, including D.A. Phillips, related

 to those prosecutions. In that case, Mr. Higdon alleges that D.A. Phillips abused his

 position of authority and conspired with the foreman of the grand jury. The civil case has

 been dismissed as time-barred and an appeal is pending. Defendant Higdon argues that,

 in light of these facts, it is inappropriate for the undersigned to preside over her trial to

 ensure the integrity of the process. The government has filed a response in opposition

 [Doc. 266] to the motion on the grounds that the defendant has not met her burden to

 prove bias.




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        As set forth in the Indictment [Doc. 4], the defendant is charged in Counts One,

 Two, and Five with conspiracy to manufacture 50 grams or more of methamphetamine,

 conspiracy to distribute 50 grams or more of methamphetamine, and possession of the

 equipment, chemicals, products, and materials which are used to manufacture

 methamphetamine, knowing, intending, and having reasonable cause to believe that the

 items would be used to manufacture methamphetamine. This case is one of several

 related cases transferred to the undersigned with numerous defendants involving the

 manufacture and distribution of methamphetamine.

        Judicial disqualification is required under 28 U.S.C. § 455(a) “in any proceeding

 in which [the Court’s] impartiality might reasonably be questioned.” The standard for

 judicial disqualification is set forth in Liteky v. United States, 510 U.S. 540 (1994):

               First, judicial rulings alone almost never constitute a valid basis for a bias
               or partiality motion. … In and of themselves (i.e., apart from surrounding
               comments or accompanying opinion), they cannot possibly show reliance
               upon an extrajudicial source; and can only in the rarest circumstances
               evidence the degree of favoritism or antagonism required … when no
               extrajudicial source is involved. Almost invariably, they are proper
               grounds for appeal, not for recusal. Second, opinions formed by the judge
               on the basis of facts introduced or events occurring in the course of the
               current proceedings, or of prior proceedings, do not constitute a basis for a
               bias or partiality motion unless they display a deep-seated favoritism or
               antagonism that would make fair judgment impossible. Thus, judicial
               remarks during the course of a trial that are critical or disapproving of, or
               even hostile to, counsel, the parties, or their cases, ordinarily do not support
               a bias or partiality challenge. They may do so if they reveal an opinion that
               derives from an extrajudicial source; and they will do so if they reveal such
               a high degree of favoritism or antagonism as to make fair judgment
               impossible. … Not establishing bias or partiality … are expressions of
               impatience, dissatisfaction, annoyance, and even anger, that are within the
               bounds of what imperfect men and women, even after having been
               confirmed as federal judges, sometimes display. A judge’s ordinary efforts


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               at courtroom administration – even a stern and short-tempered judge’s
               ordinary efforts at courtroom administration – remain immune.

 Id. at 555.

        The Sixth Circuit has adopted the Liteky standard in judicial disqualification cases.

 See, e.g., Lyell v. Renico, 470 F.3d 1177, 1186-87 (6th Cir. 2006). The defendant has the

 burden of establishing objective evidence of bias. Rhodes v. McDannel, 945 F.2d 117,

 120 (6th Cir. 1991); United States v. Sammons, 918 F.2d 592, 599 (6th Cir. 1990).

 “‘Personal’ bias is prejudice that emanates from some source other than participation in

 the proceedings or prior contact with related cases [and] … arises out of the judge’s

 background and associations.” Sammons, 918 F.2d at 599 (quoting Wheeler v. Southland

 Corp., 875 F.2d 1246, 1251-52 (6th Cir. 1989)).

        The undersigned is also mindful that the Sixth Circuit has cautioned that “[t]here

 is as much obligation upon a judge not to recuse himself when there is no occasion as

 there is for him to do so when there is.” Easley v. Univ. of Mich. Bd. of Regents, 853

 F.2d 1351, 1356 (6th Cir. 1988) (alteration in original) (citation omitted). In short,

 unnecessary recusals waste judicial resources. City of Cleveland v. Krupansky, 619 F.2d

 576, 579 (6th Cir. 1980). Likewise, granting groundless disqualification motions also

 encourages judge-shopping.

        After careful consideration, the Court finds that the defendant has not established

 objective evidence of bias.     The defendant has pointed to no actions, rulings, or

 statements of the undersigned to indicate a “deep-seated favoritism or antagonism that

 would make fair judgment impossible” in this case. The complained-of connections are


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 between the defendant’s father and the undersigned’s brother, not the defendant or the

 undersigned. Even in situations where the judge himself has been sued by a party, courts

 have agreed that recusal was not required. See, e.g., Flint v. MetLife Ins. Co. Conn., 460

 F. App’x 483, 486 (6th Cir. 2011); Robinson v. Giavasis, No. 96-3910, 1997 WL 133298,

 at *1 (6th Cir. Mar. 21, 1997). The undersigned was not involved in the prosecutions of

 defendant’s father, is not a party to the civil suit, and has no financial interest in the

 outcome of the civil case. In short, there is no objective evidence of bias, partiality or

 other reason to indicate that the undersigned cannot make a fair judgment in this case.

 Accordingly, for all of these reasons, the defendant’s motion to recuse [Doc. 254] is

 DENIED.

       IT IS SO ORDERED.



                                     s/ Thomas W. Phillips
                                   SENIOR UNITED STATES DISTRICT JUDGE




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